     Case 2:18-cv-07436-PA-JC Document 8 Filed 08/28/18 Page 1 of 2 Page ID #:22




1
     Todd M. Friedman (SBN 216752)
     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
2    21550 Oxnard St. Suite 780,
3    Woodland Hills, CA 91367
     Phone: 877-206-4741
4
     Fax: 866-633-0228
5    tfriedman@toddflaw.com
6
     Attorney for Plaintiff

7                       UNITED STATES DISTRICT COURT
8                     CENTRAL DISTRICT OF CALIFORNIA
9
                                                           )     Case No.
10      JOHN KRISTENSEN,                                   )
       individually, and on behalf of all                  )
11
       others similarly situated,                                2:18-cv-07436
                                                           )
12     Plaintiff,                                          )
                                                                 NOTICE OF VOLUNTARY
13
                                                           )
       v.                                                        DISMISSAL OF ACTION
                                                           )
14     RESEARCH AMERICA,                                         WITHOUT PREJUDICE
                                                           )
15     INC., and DOES 1 through 10,                        )
       inclusive,                                          )
16
       Defendant.                                          )
17                                                         )
18
           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
19
     Civil Procedure 41(a)(1), hereby voluntarily dismisses this matter without
20
     prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
21
     motion for summary judgment. Accordingly, this matter may be dismissed
22
     without prejudice and without an Order of the Court.
23

24         Respectfully submitted this 28th Day of August, 2018.
25
                                             By: s/Todd M. Friedman Esq.
26
                                                  Todd M. Friedman
27                                             Attorney For Plaintiff
28




                                       Notice of Dismissal - 1
     Case 2:18-cv-07436-PA-JC Document 8 Filed 08/28/18 Page 2 of 2 Page ID #:23




1                            CERTIFICATE OF SERVICE
2
     Filed electronically on August 28 2018, with:
3

4    United States District Court CM/ECF system
5
     Notification sent electronically on August 28 2018, to:
6

7
     To the Honorable Court, all parties and their Counsel of Record

8

9    s/ Todd M. Friedman
10
      Todd M. Friedman
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                      Notice of Dismissal - 2
